      Case 19-17282-btb         Doc 44    Entered 02/06/20 14:56:50        Page 1 of 9



 1   JEFFREY G. SLOANE, ESQ.                                       EFILED: February 6, 2020
     Nevada Bar No. 000784
 2   2520 St. Rose Pkwy, Suite 301
     Henderson, Nevada 89074
 3   Telephone (702) 269-8570
     Facsimile (702) 837-1650
 4   jeff@jsloanelaw.com
     Attorney for TROY FOX, Trustee
 5
 6                             UNITED STATES BANKRUPTCY COURT
 7                                       DISTRICT OF NEVADA
 8                                                  *****
 9   In Re:                                                 )      In Proceedings Under
                                                            )      Chapter 7
10   ANDREW BUNKER PLATT and                                )
     RUTH ANN PLATT                                         )      BK-S-19-17282-btb
11                                                          )
                                                            )      Trustee: Troy Fox
12                                                          )
                                                            )      Date: March 17, 2020
13                           Debtors.                       )      Time: 1:30 p.m.
                                                            )
14
15     TRUSTEE’S MOTION PURSUANT TO BANKRUPTCY RULE 9019 TO APPROVE
      COMPROMISE AND SETTLEMENT WITH ANDREW BUNKER PLATT and RUTH
16                              ANN PLATT
17            JEFFREY G. SLOANE, ESQ., on behalf of TROY FOX, Trustee respectfully submits this
18   motion to approve a settlement regarding non-exempt assets held by ANDREW BUNKER PLATT
19   and RUTH ANN PLATT (hereafter referred to as “Debtors”).
20            This motion is based upon the attached points and authorities, the Trustee’s Declaration of
21   Support, and any oral argument that this Court may permit.
22
                                                   /s/ JEFFREY G. SLOANE
23                                                 JEFFREY G. SLOANE, Esq.
                                                   Nevada Bar No. 000784
24                                                 2520 St. Rose Pkwy, Suite 301
                                                   Henderson, Nevada 89074
25                                                 Counsel for TROY FOX, Trustee
26
27
28
      Case 19-17282-btb        Doc 44     Entered 02/06/20 14:56:50        Page 2 of 9



 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2                                                    I.
 3                                           INTRODUCTION
 4      The Trustee is requesting authority to approve a compromise of monies held by the Debtors that
 5   the Trustee has alleged to be property of the Estate. The compromise is based upon the mutual
 6   desire by the Trustee and the Debtors to resolve future litigation between the parties that would
 7   necessarily be expensive and time consuming. The compromise offered by the Debtors and agreed
 8   to by the Trustee is that the Debtors shall pay to the Estate the total sum of $52,500.00.
 9                                                    II.
10                                                 FACTS
11          1.      On November 13, 2019 (the “Bankruptcy Petition Date”) ANDREW BUNKER
12                  PLATT and RUTH ANN PLATT (“Debtors”) filed a petition pursuant to Chapter 7
13                  of the Bankruptcy Code in United States Bankruptcy Court, District of Nevada (Case
14                  No. BK-S-19-17282-btb).
15          2.      Mr. Fox was duly qualified and appointed as the Chapter 7 Trustee to administer the
16                  Debtors’ bankruptcy estate.
17          3.      The purpose of this motion is to resolve issues between the Estate and the Debtors
18                  regarding several claims of exemption sought by the Debtors.
19          4.      The issues which are the subject of this motion are not simple and are the subject of
20                  various substantive issues of law including, but not limited to, the validity Trust
21                  documents created pursuant to Nevada law, wage exemptions pursuant NRS §
22                  21.090(1)(g), the interplay of the Homestead exemption pursuant to NRS §
23                  21.090(1)(l) and 11 U.S.C. § 522(p), and the “wildcard” exemption pursuant to NRS
24                  § 21.090(z).
25          5.      The major disagreement between the parties stems from contrary interpretations of
26                  11 U.S.C. §§ 522(p)(1)(A) and 522(p)(2)(B) as those sections of the Code affect the
27
28
                                                      2
     Case 19-17282-btb      Doc 44   Entered 02/06/20 14:56:50        Page 3 of 9



 1             Debtors’ claim of the Homestead exemption under Nevada law vis-a-vis the
 2             Trustee’s belief that the Debtors are only entitled to the exemption provided within
 3             the Code. The difference is substantial: the Homestead exemption pursuant to
 4             Nevada law would offer the Debtors an equitable exemption of $550,000.00. On the
 5             other hand, if the Debtors were relegated to the exemption under the Code, they
 6             would only be able to protect a maximum sum of $170,350.00. In this instance, there
 7             is approximately $300,000.00 equity in the Debtors’ residence. If the Debtors were
 8             to receive the exemption under Nevada’s statutory authority, the entire residence
 9             would be deemed exempt and provide no value to the Estate. If, on the other hand,
10             the Debtors are only entitled to the Federal exemption under the Code, there would
11             be a net value to the Estate in the approximate sum of $60,000.00 upon sale of the
12             residence.
13       6.    All told, and assuming the Estate was able to recover 100% of the monies that the
14             Trustee believes to be non-exempt assets, the Estate could possibly recover a sum
15             between $80,000.00 and $90,000.00. However, if the Debtors succeeded in proving
16             they are entitled to all of the exemptions claimed, the return to the Estate would be
17             no more than the approximate sum of $21,000.00, the latter of which representing the
18             non-exempt portion of the Debtors’ tax refund for 2019. It should also be noted that
19             to the extent the Estate would be successful in recovering some or all of the funds
20             that the Debtors have claimed as exempt, any such recovery would be tempered by
21             the administrative expenses in costs and attorney’s fees, thereby diluting the
22             distribution available to the allowed unsecured claims of the Estate. Such
23             administrative expenses could easily be in excess of $20,000.00. Similarly, the
24             Debtors’ would incur substantial costs and attorney’s fees by litigating the issues
25             identified herein.
26       7.    After substantial research, discussion, and negotiation, both the Trustee and the
27
28
                                                 3
      Case 19-17282-btb        Doc 44     Entered 02/06/20 14:56:50         Page 4 of 9



 1                  Debtors believe a resolution and settlement would be the best course of action for
 2                  both parties. Accordingly, the Trustee has agreed to accept, subject to this Court’s
 3                  approval, the sum of $52,500.00 as a complete and full settlement of all issues
 4                  between the Estate and the Debtors. The full sum has or will be turned over by the
 5                  time this matter is considered by the Court.
 6          8.      As part of the settlement, and in order to effectuate and expeditious administration
 7                  of the Estate, the Trustee has agreed to waive any objection to the exemptions
 8                  claimed by the Debtors and the Debtors have agreed that the settlement funds are not
 9                  subject to disgorgement by the Estate waiving any such objections to the exemption
10                  claims. To that end, the Trustee will no conclude the 341(a) meeting of creditors
11                  until such time as this motion is approved by the Court or until the Court orders the
12                  Trustee to do so.
13                                                    III.
14                                        LEGAL ARGUMENT
15                             Motion to Approve Settlement with Debtors
16          i.      The Standard to Approve a Settlement
17          F.R.B.P. 9019(a), provides that, after notice and hearing, a court may approve a trustee’s
18   proposed settlement or compromise. Whether a compromise should be accepted lies within the sound
19   discretion of the Bankruptcy Court. See Martin v. Cane (In Re A&C Properties), 784 F.2d 1377 (9th
20   Cir. 1986), cert. denied, 479 U.S. 854 (1986).
21          In exercise of that sound discretion on passing on proposed settlements, the standard the court
22   applies under the former Bankruptcy Act is the same standard the Court applies with the Bankruptcy
23   Code. See Protective Committee v. Anderson, 300 U.S. 14 (1968), (a decision under the Act); In
24   Re Carla Leather, Inc., 44 B.R. 457, 466 (Bankr. S.D.N.Y. 1984) aff’d, 50 B.R. 764 (D.C.N.Y.
25   1985) (Discussing similarity of Act and Code standards). The Ninth Circuit has specifically set forth
26   the following test in A&C Properties, supra, for the fairness or reasonableness of a settlement:
27
28
                                                       4
      Case 19-17282-btb           Doc 44     Entered 02/06/20 14:56:50        Page 5 of 9



 1           In determining the fairness, reasonableness, and adequacy of a proposed settlement
 2   agreement, the court must consider:
 3           (a)        the probability of success on the merits;
             (b)        the difficulty, if any, to be encountered in the matter of collection;
 4           (c)        the complexity of the litigation involved and the expense, inconvenience, and
                        delay necessarily attending it; and
 5           (d)        the paramount interest of creditors and the property deference to their reasonable
                        view in the premise.
 6
             A&C Properties, supra, at 1391.
 7
             Notably, a bankruptcy court should refrain from substituting its own judgment for the
 8
     judgment of the party charged with the business of operations of the estate, such as the trustee. In
 9
     Re Carla Leather, Inc., 44 B.R. at 456. As the Second Circuit stated in In Re W.T. Grant & Co.,
10
     699 F.2d 599, 608 (2d Cir. 1983), the review of the bankruptcy court of a proposed settlement should
11
     not “decide the numerous questions of law and fact but rather canvas the issue and see whether the
12
     settlement falls below the lowest point of the range of reasonableness.” A mini trial on the merits
13
     of the underlying cause of action is not required and should not be undertaken by the bankruptcy
14
     court. See also In Re Blair, 538 F.2d 849 (9th Cir. 1976); In Re Walsh Const., Inc., 699 F.2d 1325
15
     (9th Cir. 1982).
16
             ii.        The Trustee has met the A&C Properties Factors
17
             The Trustee has complied with all of the A&C Properties factors in this case. First, the
18
     probability of collection is not guaranteed. The expense, complexity, and delay of collecting this
19
     judgment would be a substantial cost that would not necessarily garner a greater net value to the
20
     Estate, even if it were assumed that the Judgment is fully collectible. Finally, consideration to the
21
     benefit of the creditors and the business judgment of the Trustee works in favor of approving the
22
     compromise and settlement. The best option for the Estate and creditors is to settle this matter by
23
     having a voluntary payment in the amount of $52,500.00 on terms as identified above. Upon receipt
24
     of the full $52,500.00, this matter will be deemed as being settled in full. See Declaration of Troy
25
     Fox, Trustee in favor of approving the settlement, attached hereto as Exhibit “1".
26
27
28
                                                         5
      Case 19-17282-btb        Doc 44     Entered 02/06/20 14:56:50         Page 6 of 9



 1                                                   IV.
 2                                            CONCLUSION
 3           Based upon the Trustee’s business judgment, the settlement is clearly in the best interest of
 4   the Bankruptcy Estate. Accordingly, the Trustee respectfully requests this Court to enter an order:
 5      1.      Approving the terms of the Settlement as more particularly set forth hereinabove; and
 6      2.      Approving any further relief this Court deems just and proper.
 7           DATED: February 6, 2020.
 8                                                 Respectfully Submitted,
 9
                                                   /s/ JEFFREY G. SLOANE
10                                                 JEFFREY G. SLOANE, ESQ.
                                                   Nevada Bar No. 000784
11                                                 2520 St. Rose Pkwy, Suite 301
                                                   Henderson, Nevada 89074
12                                                 Counsel for TROY FOX, Trustee
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Case 19-17282-btb   Doc 44   Entered 02/06/20 14:56:50   Page 7 of 9



 1                                     EXHIBIT 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
      Case 19-17282-btb        Doc 44      Entered 02/06/20 14:56:50        Page 8 of 9



 1   JEFFREY G. SLOANE, ESQ.                                       EFILED: February 6, 2020
     Nevada Bar No. 000784
 2   2520 St. Rose Pkwy, Suite 301
     Henderson, Nevada 89074
 3   Telephone (702) 269-8570
     Facsimile (702) 837-1650
 4   jeff@jsloanelaw.com
     Attorney for TROY FOX, Trustee
 5
 6                             UNITED STATES BANKRUPTCY COURT
 7                                        DISTRICT OF NEVADA
 8                                                  *****
 9   In Re:                                                 )      In Proceedings Under
                                                            )      Chapter 7
10   ANDREW BUNKER PLATT and                                )
     RUTH ANN PLATT                                         )      BK-S-19-17282-btb
11                                                          )
                                                            )      Trustee: Troy Fox
12                                                          )
                                                            )      Date: March 17, 2020
13                          Debtors.                        )      Time: 1:30 p.m.
                                                            )
14
15   DECLARATION OF TROY FOX, IN SUPPORT OF TRUSTEE’S MOTION PURSUANT
      TO BANKRUPTCY RULE 9019 TO APPROVE COMPROMISE AND SETTLEMENT
16            WITH ANDREW BUNKER PLATT and RUTH ANN PLATT
17            I, TROY FOX, declare under penalty of perjury as follows:
18            1.     I have been appointed as the Chapter 7 Trustee in the above referenced bankruptcy
19                   estate. Unless otherwise stated herein, I have personal knowledge of all the facts and
20                   circumstances stated herein. I am competent to testify to the same.
21            2.     On November 13, 2019 (the “Bankruptcy Petition Date”) ANDREW BUNKER
22                   PLATT and RUTH ANN PLATT (“Debtors”) filed a petition pursuant to Chapter 7
23                   of the Bankruptcy Code in United States Bankruptcy Court, District of Nevada (Case
24                   No. BK-S-19-17282-btb).
25            3.     I was duly qualified and appointed as the Chapter 7 Trustee to administer the Platt’s
26                   bankruptcy Estate.
27
28
Case 19-17282-btb   Doc 44   Entered 02/06/20 14:56:50   Page 9 of 9
